                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 AFG MEDIA LTD,

                                Plaintiff,                     Civil Action No. 2:23-cv-1840

 v.

                                                             Jury Trial Requested
 POPTREND-OFFICIAL, CAMLINBO,
 CHOIEO, CUBOVIE, DECALARE, EASY-
                                                           FILED UNDER SEAL
 FIT, GOIDEN, HACOSOON FLAGSHIP
 STORE, HACOSOON SHOP,
 KENGQIANG.INC, KOOY OFFICIAL
 STORE, LINKINGUS, MH ZONE,
 NANGUOYIREN, NBSAIRMO, -SEENEW-,
 STEGOSAURUS, TGP US, UNILOVE,
 XINRUIDA-US, YEAHBEER STORE,
 ZHOZHIWEN-US, SHENZHEN EAST
 YUAN TING TRADING CO., LTD,
 SHENZHEN GEJIA SHENG TECHNOLOGY
 CO., LTD, NINGBO SAITUO NETWORK
 TECHNOLOGY CO., LTD, SHENZHEN
 ANDER ONLINE TRADING CO., LTD,
 SHENZHEN MOJIN TECHNOLOGY CO.,
 LTD, SHENZHEN YANGHUI
 TECHNOLOGY CO., LTD, SHENZHEN
 LIDAR ELECTRONICS CO., LTD,
 GUANGZHOU BAYOMAN CLOTHING CO.,
 LTD, SHENZHEN YANGHUI
 TECHNOLOGY CO., LTD, GUANGZHOU
 GUANGQIAN ELECTRONIC COMMERCE
 CO., LTD, DODYSNAS, KILKWHELL,
 NIGHTWILL., and SUMINIY.US,
                                Defendants.


               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

       AFG MEDIA LIMITED (“AFG”), a UK private limited company (“Plaintiff”), hereby

sues Defendants, the Individuals, Partnerships, and Unincorporated Associations identified in the
Caption and which are set forth in Schedule “A” hereto (collectively “Defendants”). Defendants

have offered for sale, sold, and distributed knock-off and infringing versions of Plaintiff’s

MORPH® brand Alien Costume which closely mimic the appearance of Plaintiff’s genuine

product within this district and throughout the United States by operating e-commerce stores

established at least via one of the Amazon.com, eBay.com, Joybuy, Temu.com, Wish.com,

Walmart.com, and Aliexpress.com marketplaces using their respective Store Names and Seller

Names set forth on Schedule “A” hereto (collectively, the “Seller IDs”) (“Infringing or Knock-

Off Product(s)”). As set forth below, Defendants are using without authorization Plaintiff’s

copyrighted Alien Costume (“Plaintiff’s Work”), more specifically, manufacturing, importing,

exporting, advertising, marketing, promoting, distributing, offering for sale and/or selling

unlicensed and infringing versions of Plaintiff’s Product. In support of its claims, Plaintiff

alleges as follows:

                                  NATURE OF THE ACTION

       1. Plaintiff began its costume design and sales business in 2009 with a very small

offering of costumes but has grown today and now offers over 1000 different designs. To date,

Plaintiff has sold over two million costumes worldwide under its famous MORPH® brand, and

has well over 1.1 million Facebook followers.

       2. Plaintiff has created and innovated all of its own products, packaging, and

advertising. This is a costly effort involving graphic design, industrial design and tooling. It

takes time to create, design, test, redesign and retest prototypes. Products are introduced to

retailers via tradeshows across the world. This introduction process costs a lot of money but it is

a chance to show customers the quality and use of the product. Today, Plaintiff’s Morph-

Costumes brand encompasses many whimsical and original costumes, including the Alien


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Costume described below. This is a costly effort involving graphic design, industrial design and

tooling. It takes time to create, design, test, redesign and retest prototypes. Plaintiff introduces

its products to retailers via tradeshows internationally. This introduction process costs a lot of

money but it is a chance to show customers the quality and use of the product.

       3. Genuine goods comprising Plaintiff’s Work (as defined below) are widely legitimately

advertised and promoted by Plaintiff, its authorized distributors, and unrelated third parties via

the Internet. Over the past several years, visibility on the Internet, particularly via Internet search

engines such as Google, Yahoo!, and Bing has become increasing important to Plaintiff’s overall

marketing.

       4. The Plaintiff's Product design is a whimsical alien body, face, and profile with dayglow

green coloring, and jet black eyes, nose and mouth, hosting a human with black top, royal blue

pants, and white sneakers with black laces. Plaintiff is also the owner of various published

photographs, videos, artwork, creative text and product instructions appearing on its web site

morphsuits.com. Screen shots of the Plaintiff’s Amazon Store and Website showing Plaintiff’s

Work are shown in Complaint Exhibit 2

       5. Defendants’ sale, distribution, and advertising of the Infringing Product are highly

likely to cause consumers to believe that Defendants are offering genuine versions of Plaintiff’s

Product when in fact they are not. To illustrate, below are several examples which vividly show

that the Infringing Product itself and the manner in which it is marketed is designed to confuse

and mislead consumers into believing that they are purchasing Plaintiff’s Product or that the

Infringing Product is otherwise approved by or sourced from Plaintiff:




                                                 - 3-
      Plaintiff’s Copyrighted Sculpture                  Listing of Defendant Decalare
                                                         Showing Infringing Sculpture




          Plaintiff’s Copyrighted Sculpture                 Listing of Defendant Poptrend-

                                                      Official Showing Infringing Sculpture




Additional photographic comparisons of Plaintiff’s Product and the Infringing Products are

attached as Exhibit 1.

       6. As poorly designed and manufactured products, there is a risk of injury and

disappointment from the confused customers.

       7. The Infringing Products threaten to destroy the reputation of high quality that

Plaintiff’s Products have earned.




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       8. Plaintiff developed and sells its Alien Costume (“Plaintiff’s Product”) under the

registered MORPH® trademark (“Plaintiff’s Mark”). No. 5398463 for MORPH® for, inter alia,

“costumes” in class 25, and “retail stores” selling costumes in class 35. A copy of the trademark

registration certificate is attached to the Complaint as Exhibit 3A. Plaintiff also owns U.S.

Copyright Registration No. VA-2-261-150, the subject of which is the 2-D sculpture of

Plaintiff’s Product. (“Plaintiff’s Work”). Copies of the Copyright registration and deposit copies

are attached to the Complaint as Exhibit 3B.

       9. On information and belief, Defendants’ sale of Infringing Products gives rise to a

plausible expectation that discovery will reveal that Defendants’ actions all arise from the same

transaction, occurrence, or series of transactions. Specifically, on information and belief,

Defendants are actively participating in a conspiracy to distribute and sell Infringing Products.

For example, Defendants, on information and belief, are working together to manufacture,

arrange the manufacture of and/or sell and otherwise distribute the Infringing Products.

Moreover, the Infringing Products share similar characteristics including, for example, colors,

size, and design, including the Alien Costume Sculpture.

       10. Plaintiff therefore brings this action for federal copyright infringement pursuant to 17

U.S.C. § 501(a), et seq.

                                 JURISDICTION AND VENUE

       11. This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

1121 and 28 U.S.C. §§ 1331, 1332, and 1338.

       12. This Court may exercise personal jurisdiction over a non-resident of the State in

which the Court sits to the extent authorized by the state's laws. Fed. R. Civ. P. 4(e).




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Pennsylvania authorizes personal jurisdiction over each Defendant pursuant to 42 Pa. Cons. Stat.

§ 5322 (a) which provides in pertinent part: “A tribunal of this Commonwealth may exercise

personal jurisdiction over a person ... as to a cause of action or other matter arising from such

person: (1) Transacting any business in this Commonwealth. Without excluding other acts

which may constitute transacting business for the purpose of this paragraph: (ii) The doing of a

single act in this Commonwealth for the purpose of thereby realizing pecuniary benefit ... (3)

Causing harm or tortious injury by an act or omission in this Commonwealth. (4) Causing harm

or tortious injury by an act or omission outside this Commonwealth ... (10) Committing any

violation within the jurisdiction of the Commonwealth of any statute, home rule charter, local

ordinance or resolution, or rule or regulation promulgated thereunder by any government unit or

of any order of court or other government unit.” In the alternative, Federal Rule of Civil

Procedure 4(k) confers personal jurisdiction over the Defendants because, upon information and

belief, Defendants regularly conduct, transact and/or solicit business in Pennsylvania and in this

judicial district, and/or derive substantial revenue from their business transactions in

Pennsylvania and in this judicial district and/or otherwise avail themselves of the privileges and

protections of the laws of the Commonwealth of Pennsylvania such that this Court's assertion of

jurisdiction over Defendants does not offend traditional notions of fair play and due process,

and/or Defendants’ illegal counterfeiting and infringing actions caused injury to Plaintiff in

Pennsylvania and in this judicial district such that Defendants should reasonably expect such

actions to have consequences in Pennsylvania and in this judicial district, for example:

               a. Upon information and belief, at all times relevant hereto, Defendants were

       and/or are systematically directing and/or targeting their business activities at consumers

       in the United States, including Pennsylvania, through on-line platforms with Merchant



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Storefronts (as defined infra), via on-line marketplace websites, like Amazon.com,

eBay.com, Joybuy, Temu.com, Wish.com, Walmart.com, and AliExpress.com, under the

Seller IDs, as well as any and all as yet undiscovered accounts with Merchant Storefronts

held by or associated with Defendants, their respective officers, employees, agents,

servants and all persons in active concert or participation with any of them (“User

Accounts”), through which consumers in the United States, including Pennsylvania, can

view the one or more of Defendants’ Merchant Storefronts that each Defendant operates,

uses to communicate with Defendants regarding their listings for Infringing Products and

to place orders for, receive invoices for and purchase Infringing Products for delivery in

the U.S., including Pennsylvania, as a means for establishing regular business with the

U.S., including Pennsylvania.

       b. Upon information and belief, certain Defendants are sophisticated sellers, each

operating one or more commercial businesses using their respective User Accounts

through which Defendants, their respective officers, employees, agents, servants and all

persons in active concert of participation with any of them, operate storefronts to

manufacture, import, export, advertise, market, promote, distribute, offer for sale and/or

otherwise deal in products, including the Infringing Products, which are held by or

associated with Defendants, their respective officers, employees, agents, servants and all

persons in active concert or participation with any of them (“Merchant Storefront(s)”) in

wholesale quantities at significantly below-market prices to consumers worldwide,

including to those in the U.S., and specifically Pennsylvania.




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        c. Upon information and belief, Defendants’ Merchant Storefronts reflect multiple

sales to consumers all over the world, including repeat sales to consumers in the U.S. and

into this judicial district.

        d. Upon information and belief, all Defendants accept payment in U.S. Dollars,

collect and pay Pennsylvania sales tax, and offer shipping to the U.S., including to

Pennsylvania.

        e. Upon information and belief, at all times relevant, Defendants have transacted

business with consumers located in the U.S., including Pennsylvania, for the sale and

shipment Infringing Products.

        f. Upon information and belief, Defendants are employing and benefiting from

substantially similar, paid advertising and marketing and advertising strategies in order to

make their Merchant Storefronts selling illegal goods appear more relevant and attractive

to search result software across an array of search words, including but not limited to

“Alien Costume”. By their actions, Defendants are causing concurrent and indivisible

harm to Plaintiff and the consuming public by (i) depriving Plaintiff of its right to fairly

compete for space within the various on-line marketplace search results and reducing the

visibility of the Plaintiff’s genuine Alien Costume on various on-line marketplaces and/or

diluting and driving down the retail market price for the (ii) causing an overall

degradation of the value of the goodwill associated with Plaintiff’s works and goods; and

(iii) increasing Plaintiff’s overall cost to market its goods and educate consumers about

its brand and products.

        g. Upon information and belief, via one or more online chat rooms, and other

communications methods, (1) Defendants monitor various lawsuits against counterfeiting


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       and infringing, (2) Defendants consult with legal counsel to defend their illegal activities,

       and (3) Defendants have cooperated, communicated their plans with one another, shared

       information, and coordinated their efforts, all in order to create an illegal marketplace

       operating in parallel to the legitimate marketplace of Plaintiff’s and the legally authorized

       resellers of Plaintiff’s genuine goods.

                h. Upon information and belief, Defendants are concurrently targeting their

       infringing activities toward consumers and causing harm in Allegheny County,

       Pennsylvania.

                i. Upon information and belief, many Defendants likely reside and/or operate in

       and/or purchase the illegal goods from foreign jurisdictions with lax trademark and patent

       enforcement systems and are cooperating by creating an illegal stream of infringing

       goods.

                j. Upon information and belief, Defendants are aware of Plaintiff’s Product, and

       are aware that their illegal infringing actions alleged herein are likely to cause injury to

       Plaintiff in the United States, in Pennsylvania and in this judicial district specifically, as

       Plaintiff conducts substantial business in Pennsylvania.

                k. Plaintiff is suffering irreparable and indivisible injury and suffered substantial

       damages as a result of Defendants’ unauthorized and wrongful sale of counterfeit and

       infringing goods.

       13. Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 and 28 U.S.C. §§ 1400(a)

and (b) because, for example:




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           a. Upon information and belief, Defendants, conduct, transact, and/or solicit business

   in this judicial district.

           b. Upon information and belief, Defendants or their agent(s) may be found in this

   district because personal jurisdiction is proper in this district.

           c. Upon information and belief, this is a judicial district in which a substantial part of

   the events or omissions giving rise to the infringement claims occurred, or a substantial part

   of the property that is the subject of the action is situated.

           d. Defendants not resident in the United States may be sued in this judicial district

   because personal jurisdiction is proper in this district.

                                         THE PLAINTIFF

       14. AFG MEDIA LTD (“AFG”) is organized and existing under the laws of the United

Kingdom, having its principal place of business at 25 Silvermills Court, Henderson Place Lane,

Edinburgh, Eh3 5dg, United Kingdom.

       15. At all times relevant hereto, Plaintiff is, in part, engaged in the business of

manufacturing and distributing throughout the world, including within this district, the MORPH®

brand Alien Costume, through its website, www.morphsuits.com, various retail establishments,

and its authorized sellers on Amazon.com. Defendants, through the sale and offer to sell

Infringing Products are directly, and unfairly competing with Plaintiff’s economic interest in the

Commonwealth of Pennsylvania and causing Plaintiff harm within this jurisdiction.

       16. Like many other brand owners, Plaintiff suffers ongoing daily and sustained

violations of its rights at the hands of infringers, such as Defendants herein, who wrongfully

reproduce Plaintiff’s Products for the twin purposes of (i) duping and confusing the consuming



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public and (ii) earning substantial profits from the sale of their Infringing Products. The natural

and intended byproduct of Defendants’ actions is the erosion and destruction of the goodwill

associated with Plaintiff’s Products and the destruction of the legitimate market sector in which

Plaintiff operates.

        17. The recent explosion of counterfeiting and infringement over the Internet, including

through online marketplace platforms, has created an environment that requires brand owners,

such as Plaintiff, to expend significant time and money across a wide spectrum of efforts in order

to protect both consumers and Plaintiff from the ill effects of confusion and the erosion of the

goodwill associated with Plaintiff’s brand and products.

                                       THE DEFENDANTS

        18. The Defendants are individuals and/or business entities of unknown makeup, each of

whom, upon information and belief, either reside or operate in foreign jurisdictions, or (though

not foreign) redistribute products from the same or similar sources in those locations. Defendants

have the capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants

target their business activities toward consumers throughout the United States, including within

this district, and conduct pervasive business through the operation of, at least, one fully

interactive commercial Internet based e-commerce store via, at least, the Internet based online

marketplaces, Amazon.com, eBay.com, Joybuy, Temu.com, ,Wish.com, Walmart.com, and

AliExpress.com under the Seller IDs.

        19. Defendants use aliases in conjunction with the operation of their businesses,

including but not limited to those as set forth in Schedule “A” hereto.




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       20. Defendants are the past and present controlling forces behind the sale of products

bearing and/or using infringements of the Plaintiff’s Work, and/or a substantially similar copy of

Plaintiff’s Work as described herein using at least the Seller IDs.

       21. Upon information and belief, Defendants directly engage in using infringements of

the Plaintiff’s Work, to consumers within the United States and this district through several fully

interactive, commercial Internet websites and Internet based e-commerce stores operating under,

at least, the storefronts, the Seller IDs, and any additional domain names, websites and

corresponding website URLs or seller identifications and store URL aliases not yet known to

Plaintiff. Defendants have purposefully directed some portion of their illegal activities towards

consumers in the Commonwealth of Pennsylvania through the advertisement, offer to sell, sale,

and/or shipment of Infringing Products into the Commonwealth.

       22. Defendants have registered, established or purchased, and maintained the on-line

marketplace website storefronts and Seller IDs. Upon information and belief, Defendants have

engaged in fraudulent conduct with respect to the registration of the storefronts and Seller IDs by

providing false and/or misleading information to the Internet based e-commerce platforms where

they offer for sale and/or sell, during the registration or maintenance process related to their

respective Seller ID. Upon information and belief, Defendants have anonymously registered and

maintained some of the Seller IDs for the sole purpose of engaging in illegal infringing activities.

       23. Upon information and belief, Defendants will continue to register or acquire new

seller identification aliases for the purpose of selling and offering for sale goods bearing and/or

using confusingly similar imitations of Plaintiff’s Work unless preliminarily and permanently

enjoined.




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        24. Defendants’ Internet-based businesses amount to nothing more than illegal

operations established and operated in order to infringe the intellectual property rights of

Plaintiff.

        25. Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

any other alias seller identification names used in connection with the sale of infringing goods

bearing and/or using Plaintiff’s Work are essential components of Defendants’ online activities

and are the means by which Defendants further their infringement scheme and cause harm to

Plaintiff. Moreover, Defendants are using Plaintiff’s Work to drive Internet consumer traffic to

their e-commerce stores operating under the Seller IDs, thereby creating and increasing the value

of the Seller IDs and decreasing the size and value of Plaintiff’s legitimate consumer

marketplace at Plaintiff’s expense.

                              COMMON FACTUAL ALLEGATIONS

Plaintiff’s Alien Costume

        26. Plaintiff developed and sells its Alien Costumer under the registered trademark

MORPH®. The Plaintiff’s Work has acquired secondary meaning and is a valid and subsisting

mark. The secondary meaning was acquired before the Defendants’ use of the Plaintiff’s Work.

The Plaintiff’s Product is a whimsical inflatable alien costume that gives the viewer the

impression that a person is being carried around by an alien. Below are images of one of

Plaintiff’s Products, (ASIN1 B06XKMP9KX) and (ASIN B09HQTDYLM), which retail for

$40.00 to $50.00:




1
      Refers to Amazon Standard Identification Number. Each product is assigned a unique ASIN when listed on
      Amazon.


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          27. MORPH® brand Alien Costumes have unique ornamental features: including a

whimsical alien body, face, and profile with dayglow green coloring, and jet black eyes, nose,

and mouth, hosting a human with black top, royal blue pants, and white sneakers with black

laces--- all inherently distinct features that function as a source identifier for the Plaintiff’s

Product.

          28. Plaintiff displays and promotes its products using Plaintiff’s Work in interstate

commerce to identify and distinguish Plaintiff’s goods.

          29. Plaintiff’s Work has been used by the Plaintiff prior in time to Defendants’ use of the

work. The Plaintiff’s Work has never been assigned or licensed to any of the Defendants in this

matter.

          30. Plaintiff’s Work is a symbol of Plaintiff’s quality, reputation, and goodwill and has

never been abandoned.

          31. To date, Plaintiff has sold over two million costumes worldwide under its famous

MORPH® brand, and has well over 1.1 million Facebook followers.

          32. Genuine goods bearing the Plaintiff’s Work are widely legitimately advertised and

promoted by Plaintiff, its authorized distributors, and unrelated third parties via the Internet.

Over the past several years, visibility on the Internet, particularly via Internet search engines


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such as Google, Yahoo!, and Bing, has become increasing important to Plaintiff’s overall

marketing. Thus, Plaintiff and its authorized distributors expend significant monetary resources

on Internet marketing, including search engine optimization (“SEO”) strategies. Those strategies

allow Plaintiff and its authorized retailers to fairly and legitimately educate consumers about the

value associated with Plaintiff’s brand and the goods sold thereunder. Similarly, Defendants’

individual seller’s stores are indexed on search engines and compete directly with Plaintiff for

space in the search results.

Defendants’ Wrongful and Infringing Conduct

        33. Upon information and belief, Defendants are, through at least the Internet based e-

commerce stores operating under the Seller IDs, promoting, selling, offering for sale and

distributing goods bearing and/or using confusingly similar imitations of the Plaintiff’s Work, or

substantially similar copies of Plaintiff’s Work, while marketing Infringing Products in a willful

attempt to pass off their knock-off products as genuine versions of Plaintiff’s Products.

        34. E-commerce sales, including through e-commerce stores like those of Defendants,

have resulted in a sharp increase in the shipment of unauthorized products into the United States.

Ference Dec2., Exhibit 1, Excerpts from Fiscal Year 2021 U.S. Customs and Border Protection

(“CBP”) Intellectual Property Seizure Statistics Report. Over 89% of all CBP intellectual

property seizures were smaller international mail and express shipments (as opposed to large

shipping containers). Id. More than half (51%) of CBP seizures originated from mainland China

and Hong Kong. Id. Counterfeit and pirated products account for billions in economic losses,




2 Referring to Declaration of Stanley D. Ference III in Support of Temporary Restraining Order, filed herewith.




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resulting in tens of thousands of lost jobs for legitimate businesses and broader economic losses,

including lost tax revenue.

       35. Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Ference Dec., Exhibit 2, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting

in the Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on

“Combating Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of

Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Ference

Dec., Exhibit 3, and finding that on “at least some e-commerce platforms, little identifying

information is necessary for a counterfeiter to begin selling” and recommending that

“[s]ignificantly enhanced vetting of third-party sellers” is necessary. Counterfeiters hedge

against the risk of being caught and having their websites taken down from an e-commerce

platform by preemptively establishing multiple virtual store-fronts. Ference Dec., Exhibit 3, at p.

22. Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, counterfeiters can have many different profiles that can appear

unrelated even though they are commonly owned and operated. Ference Dec., Exhibit 3, at p. 39.

Further, “E-commerce platforms create bureaucratic or technical hurdles in helping brand owners

to locate or identify sources of counterfeits and counterfeiters.” Ference Dec., Exhibit 2, at 186-

187.

       36. Upon information and belief, Defendants did not obtain an opinion from United

States Counsel about the legality of offering for sale each of the Infringing Products.




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        37. Upon information and belief, Defendants’ Infringing Products are of a quality

substantially and materially different than that of Plaintiff’s genuine goods. Defendants, upon

information and belief, are actively using, promoting and otherwise advertising, distributing,

selling, and/or offering for sale substantial quantities of their Infringing Products with the

knowledge and intent that such goods will be mistaken for the genuine high-quality goods

offered for sale by Plaintiff despite Defendants’ knowledge that they are without authority to use

the Plaintiff’s Work. The net effect of Defendants’ actions will cause confusion of consumers, at

the time of initial interest, sale, and in the post-sale setting, who will believe Defendants’

Infringing Products are genuine goods originating from, associated with, and approved by

Plaintiff.

        38. Defendants advertise their Infringing Products for sale to the consuming public via

Internet based e-commerce stores on, at least, one Internet marketplace using at least the Seller

IDs. In so advertising these goods, Defendants improperly and unlawfully the Plaintiff’s Work,

or substantially similar copies of Plaintiff’s Work without Plaintiff’s permission.

        39. As part of their overall infringement scheme, Defendants are, upon information and

belief, concurrently employing and benefitting from substantially similar, advertising and

marketing strategies based, in large measure, upon an illegal use of infringements of the

Plaintiff’s Work. Specifically, Defendants are using infringements of Plaintiff’s rights in order

to make their e-commerce stores selling illegal goods appear more relevant and attractive to

consumers online. By their actions, Defendants are contributing to the creation and maintenance

of an illegal marketplace operating in parallel to the legitimate marketplace for Plaintiff’s

genuine goods. Defendants are causing, individual, concurrent and indivisible harm to Plaintiff

and the consuming public by (i) depriving Plaintiff and other third parties of their right to fairly



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compete for space within search engine results and reducing the visibility of Plaintiff’s genuine

goods on the World Wide Web, (ii) causing an overall degradation of the value of the goodwill

associated with the Plaintiff’s rights, and (iii) increasing Plaintiff’s overall cost to market its

goods and educate consumers about its brand via the Internet.

        40. Defendants are concurrently targeting their infringing activities toward consumers

and causing harm within this district and elsewhere throughout the United States. As a result,

Defendants are defrauding Plaintiff and the consuming public for Defendants’ own benefit.

Indeed, through their willful and

        41. Plaintiff confirmed that Defendants were and/or are still currently offering for sale

and/or selling Infringing Products for sale to the consuming public via Internet based e-

commerce stores on, at least, one Internet marketplace using at least the Seller IDs and that

Defendants provide shipping and/or have actually shipped Infringing Products to customers

located within this judicial district.


        42. There is no question that the Infringing Products themselves and the manner in

which they are marketed is designed to confuse and mislead consumers into believing that they

are purchasing Plaintiff’s Product or that the Infringing Products are otherwise approved by or

sourced from Plaintiff, thereby trading on the goodwill and reputation of Plaintiff by engaging in

the unauthorized use of Plaintiff’s Work, or substantially similar copies of Plaintiff’s Work.


        43. At all times relevant hereto, Defendants in this action had full knowledge of

Plaintiff’s ownership of the Plaintiff’s Work, including its exclusive right to use and license such

intellectual property and the goodwill associated therewith.




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       44. Defendants’ use of Plaintiff’s Work, and/or substantially similar copies of Plaintiff’s

Work, including the promotion and advertisement, reproduction, distribution, sale, and offering

for sale of their Infringing Products, is without Plaintiff’s consent or authorization.

       45. Defendants are engaging in the above-described illegal infringing activities

knowingly and intentionally or with reckless disregard or willful blindness to Plaintiff’s rights

for the purpose of trading on Plaintiff’s goodwill and reputation. If Defendants’ intentional

infringing activities are not preliminarily and permanently enjoined by this Court, Plaintiff and

the consuming public will continue to be harmed.

       46. Defendants above identified infringing activities are likely to cause confusion,

deception, and mistake in the minds of consumers before, during, and after the time of purchase.

Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

customers, the public, and the trade into believing there is a connection or association between

Plaintiff’s genuine goods and Defendants’ Infringing Products, which there is not.

       47. Defendants’ payment and financial accounts are being used by Defendants to accept,

receive, and deposit profits from Defendants’ infringing and unfairly competitive activities

connected to their Seller IDs and any other alias e-commerce stores, photo albums, seller

identification names, domain names, or websites being used and/or controlled by them.

       48. Further, upon information and belief, Defendants are likely to transfer or secret their

assets to avoid payment of any monetary judgment awarded to Plaintiff.

       49. Plaintiff has no adequate remedy at law.

       50. Plaintiff is suffering irreparable injury and have suffered substantial damages as a

result of Defendants’ unauthorized and wrongful use of Plaintiff’s Work, and/or substantially



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similar copies of Plaintiff’s Work. If Defendants’ infringing activities are not preliminarily and

permanently enjoined by this Court, Plaintiff and the consuming public will continue to be

harmed.

       51. The harm and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

sale of their Infringing Products.

The Scope of Defendants’ Activities

       52. Upon information and belief, each Defendant operates more than one merchant

storefront.

       53. Upon information and belief, each Defendant operates merchant storefronts across

multiple e-commerce marketplaces.

       54. Upon information and belief, each Defendant has sold more than 150,000 units of the

Infringing Product.

       55. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $100,000.

       56. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $300,000.

       57. Upon information and belief, each Defendant’s profits from the sale of the Infringing

Products totals more than $2,000,000.

              COUNT I – FEDERAL COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

       58. All the above paragraphs are incorporated herein by reference.



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        59. Plaintiff is the exclusive owner and licensee of Plaintiff’s Work.

        60. Defendants had actual notice of Plaintiff’s exclusive rights in and to the Plaintiff’s

Work.

        61. Defendants did not attempt and therefore inherently failed to obtain Plaintiff’s

consent or authorization to use, manufacture, reproduce, copy, display, prepare derivative works

of, distribute, sell, transfer, rent, perform and/or market Plaintiff’s Work.

        62. Defendants’ unlawful actions have caused and are continuing to cause unquantifiable

damages to Plaintiff and are unjustly enriching Defendants with profits at Plaintiff’s expense.

        63. Without permission, Defendants knowingly and intentionally reproduced, copied, and

displayed the Plaintiff’s Work by manufacturing, importing, exporting, advertising, marketing,

promoting, distributing, displaying, offering for sale and/or selling products that utilize features

that are, at a minimum, substantially similar to the Plaintiff’s Work.

        64. Defendants’ unlawful and willful action as alleged herein constitute infringement of

the Plaintiff’s Work, including Plaintiff’s exclusive rights to reproduce, distribute and/or sell

such Work in violation of 17 U.S.C. § 501(a).

        65. Defendants’ knowing and intentional copyright infringement, as alleged herein, has

caused substantial and irreparable harm to Plaintiff in an amount as yet unknown but to be

proven at trial, for which Plaintiff has no adequate remedy at law, and unless enjoined,

Defendants will continue to cause substantial and irreparable harm to Plaintiff. Plaintiff is

entitled to injunctive relief, Plaintiff’s actual damages and Defendants’ profits in an amount to be

proven at trial, enhanced discretionary damages for willful copyright infringement, and

reasonable attorneys’ fees and costs.



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                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an

award of equitable relief and monetary relief against Defendants as follows:

        a. Entry of temporary, preliminary and permanent injunctions pursuant to 17 U.S.C. §

502, and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents, representatives,

servants, employees, and all those acting in concert or participation therewith, from

manufacturing or causing to be manufactured, importing, advertising or promoting, distributing,

selling or offering to sell their Knock-Off Products; from infringing the Plaintiff’s Work; from

using the Plaintiff’s Work in connection with the sale of any unauthorized goods; from using any

work that may be calculated to falsely advertise the services or goods of Defendants as being

sponsored by, authorized by, endorsed by, or in any way associated with Plaintiff; from using

any reproduction, counterfeit, infringement, copy, or colorable imitation of the Plaintiff’s Work

in connection with the publicity, promotion, sale, or advertising of any goods sold by

Defendants; from engaging in search engine optimization strategies using colorable imitations of

the Plaintiff’s Work; from further infringement, or from otherwise unfairly competing with

Plaintiff.

        b. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s

inherent authority that upon Plaintiff’s request, any Internet marketplace website operators

and/or administrators that are provided with notice of the injunction, including but not limited to

the online marketplaces hosted by Amazon.com, eBay.com, Joybuy, Temu.com, Walmart.com,

Wish.com, and AliExpress.com disable and/or cease facilitating access to the Seller IDs, and any

other alias e-commerce stores being used and/or controlled by Defendants to engage in the




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marketing, promotion, offering for sale, and/or sale of goods bearing and/or using counterfeits

and/or infringements of the Plaintiff’s Work.

       c. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s

inherent authority that upon Plaintiff’s request, any Internet marketplace website operators

and/or administrators who are provided with notice of the injunction, including but not limited to

online marketplaces hosted by, Amazon.com, eBay.com, Joybuy, Temu.com,Walmart.com,

Wish.com, and AliExpress.com permanently remove from multiple platforms, which include,

inter alia, a Direct platform, Group platform, Seller Product Management platform, Vendor

Product Management platform, and Brand Registry platform, any and all listings and associated

images of goods bearing and/or using counterfeits and/or infringements of the Plaintiff’s Work,

via the e-commerce stores operating under the Seller IDs on Schedule “A” hereto, and upon

Plaintiff’s request, any other listings and images of goods bearing and/or using counterfeits

and/or infringements of the Plaintiff’s Work linked to the same seller or linked to any other alias

seller identification name being used and/or controlled by Defendants to promote, offer for sale

and/or sell goods bearing and/or using infringements of the Plaintiff’s Work.

       d. Entry of an Order that, upon Plaintiff’s request, any Internet marketplace website

operators and/or administrators who are provided with notice of the injunction, including but not

limited to online marketplaces hosted by Amazon.com, eBay.com, Joybuy, Temu.com, ,

Walmart.com, Wish.com, and AliExpress.com immediately cease fulfillment of and sequester all

goods of each Defendant or other Seller under a Seller ID bearing and/or using Plaintiff’s Work

in its inventory, possession, custody, or control, and surrender those goods to Plaintiff.

       e. Entry of an Order pursuant to 28 U.S.C. § 1651(a), the All Writs Act, that upon

Plaintiff’s request, any messaging service and Internet marketplace, social media, and image


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hosting website operators and/or administrators for the Seller IDs who are provided with notice

of the injunction, including but not limited to operators and/or administrators of Amazon.com,

eBay.com, Joybuy, Temu.com, Wish.com, Walmart.com, and AliExpress.com, identify any e-

mail address known to be associated with Defendants’ respective Seller IDs.

        f. Entry of an order pursuant to 28 U.S.C. § 1651(a), the All-Writs Act, and the Court’s

inherent authority, authorizing Plaintiff to serve the injunction on any e-mail service provider

with a request that the service provider permanently suspend the e-mail address that used by

Defendants in connection with Defendants’ promotion, offering for sale, and/or sale of goods

bearing and/or using infringements of the Plaintiff’s Work or otherwise unfairly competing with

Plaintiff.

        g. For an award of Plaintiff’s actual damages and Defendants’ profits, pursuant to 17

U.S.C. § 504(b), in an amount to be proven at trial for willful copyright infringement of the

Plaintiff’s Work under § 501(a).

        h. In the alternative to Plaintiff’s actual damages and Defendants’ profits for copyright

infringement of the Plaintiff’s Work pursuant to 17 U.S.C. § 504(b), for statutory damages of

$150,000.00 per infringement pursuant to 17 U.S.C. § 504(c) for willful copyright infringement,

which Plaintiff may elect prior to rendering of final judgment, together with Plaintiff’s costs and

reasonable attorneys’ fees and investigative fees associated with bringing this action.

        k. Entry of an Order that, upon Plaintiff’s request, any financial institutions, payment

processors, banks, escrow services, money transmitters, or marketplace platforms, and their

related companies and affiliates, identify and restrain all funds, up to and including the total

amount of judgment, in all financial accounts and/or sub-accounts used in connection with the

Seller IDs or other domain names, alias seller identification names, or e-commerce store names


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or store URLs used by Defendants presently or in the future, as well as any other related

accounts of the same customer(s) and any other accounts which transfer funds into the same

financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the

monetary judgment entered herein.

        l. Entry of an award of pre-judgment interest on the judgment amount.

        m. Entry of an order for any further relief as the Court may deem just and proper.

DEMAND FOR JURY TRIAL

        Plaintiff respectfully demands a trial by jury on all claims.

                                                Respectfully submitted,


Dated: October 23, 2023                         /s/ Stanley D. Ference III
                                                Stanley D. Ference III
                                                Pa. ID No. 59899
                                                courts@ferencelaw.com

                                                Brian Samuel Malkin
                                                Pa. ID No. 70448
                                                bmalkin@ferencelaw.com

                                                FERENCE & ASSOCIATES LLC
                                                409 Broad Street
                                                Pittsburgh, Pennsylvania 15143
                                                (412) 741-8400 - Telephone
                                                (412) 741-9292 - Facsimile

                                                Attorneys for Plaintiff




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                           Schedule “A”
             Defendants With Store Name and Seller ID
Defendant           Store/Seller Name                 Seller ID
 Number
   1                     Poptrend-Official              A33BMWTKYKIOJL
   2                         Camlinbo                     ATXD7XI4Q3HVL
   3                         CHOIEO                      A2HA001Q1O7ACA
   4                          Cubovie                     A2543YFGR12Z6Z
   5                          Decalare                   A14XN8BPYZV8OO
   6                          easy-fit                  A3FYKOHW6MEN36
   7                          Goiden                     AWD6YGY04LEVW
   8                 Hacosoon Flagship Store             A2E7OGP441SC0M
   9                      Hacosoon Shop                   AJ9YBVOH0S05A
   10                     KengQiang.Inc                  A35RYGXQ3I6NFE
   11               KOOY OFFICIAL STORE                  A3J594AMC3PUTG
   12                        Linkingus                   A2E16M129IMQHG
   13                       MH ZONE                       A2O0PYP56E1FN7
   14                       nanguoyiren                 A2ADI27MKANWRG
   15                      NBSAIRMO                     A2DK2E7AKKTEUW
   16                        -SeeNew-                   A3VHFGWGH6CPKW
   17                       Stegosaurus                   A6KRJRJHT6G0R
   18                         TGP US                      A33JPWIB3NFE36
   19                         Unilove                   A1DVPDDCRRWUZF
   20                      Xinruida-US                  A2VW64IHUWWIOE
   21                   YEAHBEER store                   A2YOU85DCOCIGS
   22                      zhozhiwen-us                  A1V18X96UPN7QX
   23       Shenzhen East Yuan Ting trading Co., LTD           13848
   24       Shenzhen Gejia Sheng technology Co., LTD           13174
   25       Ningbo Saituo network Technology Co., LTD          14567
   26        Shenzhen ander online trading Co., LTD             8746
   27         Shenzhen Mojin Technology Co., LTD               13047
   28         Shenzhen Yanghui Technology Co., LTD              8764
   29          Shenzhen Lidar Electronics Co., LTD             10076
   30        Guangzhou Bayoman clothing Co., LTD               13832
   31        Shenzhen Yanghui Technology Co., LTD               7360
            Guangzhou Guangqian electronic commerce
   32                        Co., LTD                          7322
   33                      DODYSNAS                         101500281

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34    Kilkwhell      101090936
35    Nightwill.     101258203
36   Suminiy.US      101205912




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                                       LISTING OF EXHIBITS

Exhibit 1 ................................Photographic Comparison of genuine MORPH® Alien Costumer
                                          and Infringing Products.

Exhibit 2 ................................Printout of morphsuits.com page for Alien Costume.

Exhibit 3A .............................U.S. Trademark Reg. No. 5398463 for MORPH®.

Exhibit 3B ...............................U.S. Copyright Reg. No. VA-2-261-150 and deposit copies.
